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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )     Case No. 23-11069 (___)
                                                                  )
                           Debtors.                               )     (Joint Administration Requested)
                                                                  )

                   DECLARATION OF CODY LEUNG KALDENBERG,
                       FOUNDING MEMBER AND PARTNER AT
                 DUCERA PARTNERS LLC IN SUPPORT OF THE MOTION
               OF DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
            (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION
           FINANCING AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING
           LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
     (III) MODIFYING THE AUTOMATIC STAY, (IV) AUTHORIZING THE DEBTORS
      TO USE UST CASH COLLATERAL, (V) GRANTING ADEQUATE PROTECTION,
    (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

         I, Cody Leung Kaldenberg, hereby declare under penalty of perjury as follows:

         1.       I am a founding member of and partner at Ducera Partners LLC (“Ducera”),

which maintains its principal office at 11 Times Square, 36th Floor, New York, New York

10036. Ducera is the proposed investment banker to the above-captioned debtors and debtors in

possession (collectively, the “Debtors”).

         2.       I submit this declaration (the “Declaration”) in support of the Motion of Debtors

for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition

Financing and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative

Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use UST



1    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
     principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
     Suite 400, Overland Park, Kansas 66211.
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Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final Hearing, and

(VII) Granting Related Relief (the “DIP Motion”).2

        3.       The DIP Motion seeks authorization for the Debtors to enter into the proposed

super-priority, multiple draw debtor-in-possession term loan, consisting of:                          (a) up to

$142.5 million in New Money DIP Term Loans, of which (i) an initial $60 million draw will be

made available upon entry of the Interim Order, followed by (ii) $37.5 million available upon

entry of a final, non-appealable order approving the Bidding Procedures, (iii) $20 million

available upon the Debtors’ receipt, pursuant to the Bidding Procedures Order, of unique,

non-duplicative binding bids for the DIP Priority Collateral that would, in the aggregate,

generate net cash proceeds of at least $250 million, and (iv) $25 million available upon the

Debtors’ receipt, pursuant to the Bidding Procedures Order, of unique, non-duplicative binding

bids (which shall not be subject to any financing contingencies) for the DIP Priority Collateral

that would, in the aggregate, generate net cash proceeds of at least $450 million; and

(b) approximately $501.5 million in DIP Roll-Up Loans. In addition, the DIP Motion seeks

authorization for the consensual use of Cash Collateral (including Available ABL Cash

Collateral) in accordance with the DIP Documents (including the Approved Budget) and the

terms and provisions of the Interim Order and the Interim UST Cash Collateral Order.

        4.       Unless otherwise stated herein, all statements set forth in this Declaration are

based upon: (a) my personal knowledge; (b) information provided to me by the Debtors’

management team, other members of the Ducera team working at my direction, the Debtors’

other advisors, and certain creditors’ advisors; (c) my review of relevant documents; (d) my

2   The significant terms of the DIP Facility are set forth in greater detail in the DIP Motion. Capitalized terms
    used but not otherwise defined herein shall have the meanings set forth in the DIP Motion or the Interim Order,
    as applicable.



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experience in chapter 11 cases, including with debtor-in-possession financing facilities; (e) the

DIP Motion; (f) the Declaration of Matthew A. Doheny, Chief Restructuring Officer of Yellow

Corporation, in Support of Debtors’ Chapter 11 Petitions and First Day Motions

(the “First Day Declaration”), filed contemporaneously herewith; and (g) the Declaration of

Brian Whittman, Managing Director of Alvarez & Marsal North America, LLC, In Support of the

Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to

(A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and

Superpriority    Administrative     Expense   Claims,      (III) Modifying   the   Automatic   Stay,

(IV) Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection,

(VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “Whittman

Declaration”), filed contemporaneously herewith.

       5.       I am over the age of eighteen (18) years and authorized to submit this Declaration

on behalf of the Debtors.        I am not being compensated separately for this Declaration or

testimony, other than through payments received by Ducera as the Debtors’ proposed investment

banker. If I were called upon to testify, I could and would competently testify to the facts and

opinions set forth herein.

                             Professional Background and Qualifications

       6.       Founded in 2015, Ducera is an independent investment banking advisory firm,

which has extensive experience in, among other areas, providing leading-edge capital structure

and restructuring advice in both in-court and out-of-court situations. In addition to numerous

out-of-court restructuring and sale assignments, Ducera professionals have served as investment

bankers to debtors, creditor groups, asset purchasers, committees, boards of directors, and

trustees in a number of bankruptcy matters. Ducera provides a broad range of corporate and

financial services to its clients, including general corporate advice; mergers, acquisitions, and
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divestitures; corporate restructurings; and private placements.       Ducera provides its services

worldwide from three offices located in the United States.

       7.      Ducera employs more than fifty professionals and is one of the leading advisors

and investment bankers to debtors, secured and unsecured creditors, acquirers, and other parties

in interest involved with financially troubled companies requiring complex financial

restructurings, both in and outside of bankruptcy. Ducera has represented debtors, creditors, and

other constituents in some of the largest restructuring cases in the United States, including

(a) In re Diebold Holding Co., LLC, Case No. 23-90602 (DRJ) (Bankr. S.D. Tex. July 18, 2023)

[Docket No. 266]; (b) In re Virgin Orbit Holdings, Inc., Case No. 23-10405 (KBO) (Bankr. D.

Del. May 15, 2023) [Docket No. 261]; (c) In re Altera Infrastructure L.P., Case No. 22-90130

(MI) (d) In re GBG USA Inc., Case No. 21-11369 (MEW) (Bankr. S.D.N.Y. Sept. 22, 2021)

[Docket No. 230]; (e) In re Superior Energy Servs., Inc., Case No. 20-35812 (DRJ) (Bankr. S.D.

Tex. Feb. 2, 2021) [Docket No. 316]; (f) In re Hornbeck Offshore Services, Inc., Case No. 20-

32679 (DRJ); (g) In re iHeartMedia, Inc., Case No. 18-31274 (MI); (h) In re Toys “R” Us, Inc.,

Case No. 17-34665 (KLP) (Bankr. E.D. Va. Jan. 26, 2018).

       8.      I have nearly twenty years of restructuring-related investment banking experience

and have worked on a broad range of restructuring advisory assignments across a variety of

industry sectors. Since joining Ducera in 2015, I have provided investment banking expertise

and financing advice, including with respect to marketing for and obtaining postpetition

debtor-in-possession financing, to financially distressed companies as well as lenders and

strategic investors in distressed and special situations engagements. Prior to joining Ducera, I

worked as a Director at Perella Weinberg Partners for over six years, advising companies and

other stakeholders on special situation restructuring engagements, prior to which I worked as an


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associate at Goldman Sachs for over four years. I earned a Bachelor of Science in Economics

from the Massachusetts Institute of Technology in 2004.

                                       Ducera’s Retention

       9.      The Debtors retained Ducera in February 2023 to act as their investment banker in

connection with the Debtors’ efforts to consider potential alternatives to address liquidity needs.

During the engagement, Ducera has rendered investment banking services to the Debtors in

connection with the evaluation of various strategic and financial alternatives, including the

prospect of the Debtors soliciting and ultimately entering into debtor-in-possession financing.

Among other things, Ducera has been engaged to assist the Debtors in evaluating and negotiating

postpetition financing alternatives and to conduct a marketing process to obtain

debtor-in-possession financing to fund a potential chapter 11 process.

       10.     Ducera’s engagement also involves assisting the Debtors in marketing their

assets, which process is described in further detail in the First Day Declaration. I understand this

sale process is intended to be the cornerstone of the Debtors’ efforts to maximize estate value

during these chapter 11 cases. Given the Debtors’ constrained liquidity position as described in

the Whittman Declaration, I understand that the proceeds of the DIP Facility are required to fund

the sale process.

       11.     I have worked closely with the Debtors’ management and other professionals

retained by the Debtors with respect to preparing for these chapter 11 cases and have become

well-acquainted with the Debtors’ capital structure, liquidity needs, and business operations.

                    The Debtors’ Efforts to Obtain Postpetition Financing

       12.     At the onset of Ducera’s engagement, the Debtors had just generated over $340

million Adjusted EBITDA for fiscal year 2022 and expected performance to strengthen upon the

anticipated implementation of Phase 2 of its One Yellow initiative (as described in the First Day
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Declaration). Throughout early 2023, I along with other members of the Ducera team worked

with the Debtors to explore various potential alternatives to refinance the Debtors’ existing debt,

reduce their cost of capital, and enhance their liquidity profile. These alternatives were generally

premised on the Debtors (a) continuing to operate as a going concern enterprise and

(b) implementing Phase 2 of One Yellow, which I understood to be critical and foundational to

the Debtors’ future financial performance.

       13.     As described in the First Day Declaration, the Debtors’ liquidity position became

significantly challenged during the second quarter of 2023.        I understand that the Debtors

initially expected to have sufficient liquidity to fund operations through the pendency of a

refinancing process; however, as described in the First Day Declaration, the Debtors’ inability to

implement One Yellow severely frustrated their business plan objectives and resulted in the rapid

and unexpected deterioration of the Debtors’ liquidity profile. In an effort to secure incremental

liquidity on an out-of-court basis to preserve going concern operations, I, along with members of

the Ducera team working at my direction, assisted the Debtors in exploring various potential

financial alternatives to enhance the Debtors’ liquidity profile, including seeking to arrange an

alternative ABL facility, seeking private equity investment, and deferring interest payments on

existing debt. These efforts were ultimately unfruitful as both third-party and existing investors

were unwilling to extend credit without a clear “line of sight” to the implementation of One

Yellow. With no immediate financing solution available to shore up liquidity, I understand that

the Debtors took various “self-help” actions to extend runway, including deferring payment of

Central States Contributions (as defined in the First Day Declaration). Shortly thereafter, the

IBT issued a 72-hour strike notice to Yellow that was set to take effect on July 24, 2023. As

more fully described in the First Day Declaration, while the IBT ultimately lifted the threat of a


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strike on July 23, 2023, the devasting impact of the strike notice on the Debtors’ business,

compounded by the breakdown of One Yellow, diminished both the Debtors’ ability to continue

operating as a going concern and the prospects of obtaining financing on an out-of-court basis.

       14.     In light of the impact of the strike notice on the Debtors’ business, the Debtors

and their advisors rapidly began contingency planning. Given the Debtors’ diminished prospects

as a going concern operating business, the Debtors and their advisors determined that an orderly

wind-down and sale of their assets in chapter 11 would likely provide the best pathway to

maximizing value for their estates. As part of this contingency planning process, the Debtors

and their advisors determined that postpetition financing would be required to provide the

Debtors the runway needed to maximize value pursuant to a chapter 11 sale process for their

extensive portfolio of assets.

       15.     My team and I worked diligently with the Debtors and their advisors to develop a

process to expeditiously seek debtor-in-possession financing on the most advantageous available

terms for the Debtors’ estates. The principal objectives of this process were to (a) obtain runway

necessary to fund a robust, competitive sale process to best position the Company to maximize

the value of its assets for the benefit of all stakeholders, (b) secure sufficient liquidity to fund

steps to preserve the value of the Debtors’ assets (e.g., securing the Debtors’ facilities, costs

associated with collecting accounts receivable and allowing customers to retrieve any freight

remaining in the Debtors’ network), as well as an orderly wind-down of the estate, and (c) work

toward consensus among the Debtors’ prepetition capital structure constituents to (i) avoid the

cost and distraction of a contested postpetition financing process and (ii) implement a thorough

and efficient sale and wind-down process supported by the Debtors’ entire capital structure.




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       16.     With limited time available to secure debtor-in-possession financing following the

rapid deterioration of the Debtor’s liquidity position, my team and I, working on the Debtors’

behalf, initiated discussions with the Debtors’ existing capital structure constituents, including

the Prepetition B-2 Secured Parties, the Prepetition ABL Secured Parties, and the Prepetition

UST Secured Parties. In these discussions, the Prepetition B-2 Secured Parties were the only

existing capital structure constituent that indicated a willingness to provide the Debtors with new

money debtor-in-possession financing (beyond the use of cash collateral). In parallel, I and my

team launched a comprehensive third-party marketing process consisting of outreach to

approximately 35 third-party financial institutions with particular industry experience in

providing debtor-in-possession financing.       Ten of these parties executed confidentiality

agreements and received access to a private data room containing extensive materials related to

the Debtors’ financials, operations, assets, organizational structure, and the opportunity to

provide debtor-in-possession financing.

       17.     Recognizing the Company’s urgent liquidity constraints and immediate-term

restructuring needs (which circumstances are described in detail in the First Day Declaration and

the Whittman Declaration), we instructed all solicited and interested parties to provide proposals

for postpetition financing on an expedited basis. The Debtors received only one third-party

indication of interest to provide a debtor-in-possession financing proposal, which proposal was

based on public information only. The inbound proposal was labeled “for discussion purposes

only” and was premised upon having several additional weeks of diligence to determine if such a

financing would be feasible on any terms. It is my understanding that the Debtors could not wait

several weeks to determine whether this highly uncertain financing would be available to the

Debtors. Further, despite my requesting this party to reconsider engagement with the Debtors—


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provided such a process would need to progress over the course of days rather than weeks—this

party, in no uncertain terms, indicated that weeks of diligence would be required to advance their

potential interest. Accordingly, with time being of the essence, I believe that this party’s

indication of interest could not realistically materialize into a viable or actionable alternative.

       18.     As discussions regarding the DIP Facility progressed in earnest with the DIP

Lenders, we continued to actively canvass the debtor-in-possession financing market for any and

all available or possible alternatives. These efforts included reaching out to several of the parties

originally contacted as well as eight additional parties and soliciting interest on the basis of

providing postpetition financing containing a new money component competitive with the DIP

Facility (i.e., in the range of $142.5 million of new money with approximately $60 million to be

made available on an immediate basis). In addition, the Debtors’ advisors engaged with the

Debtors’ Prepetition ABL Secured Parties, which I understand have a first priority lien on the

Debtors’ cash and accounts receivable, regarding the possibility of the Debtors obtaining full

access to their Cash Collateral (rather than only Available ABL Cash Collateral (as defined in

the Interim Order)) in exchange for fees and certain other incremental economics.                     The

Prepetition ABL Secured Parties, however, indicated that they were not interested in pursuing

any such arrangement with the Debtors and were only willing to consent to the use of Available

ABL Cash Collateral pursuant to the terms of the Interim Order. Notwithstanding these efforts,

no alternatives to the proposed DIP Facility for postpetition financing materialized. Thus, the

Debtors pursued the DIP Facility as it represented the only actionable and available alternative to

address their critical funding needs.

       19.     In light of the Debtors’ exigent liquidity needs and lack of actionable third-party

alternatives on the expedited timeline required, I do not believe that viable alternative sources of


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financing, other than the proposed DIP Facility, are readily available to the Debtors. In addition,

I am advised that substantially all the Debtors’ assets (subject to customary exceptions) are

encumbered by liens arising under the Debtors’ prepetition funded debt facilities. Thus, I do not

believe that third-party debtor-in-possession financing is or would be reasonably available on a

junior-lien basis, nor do I believe it would be advisable for the Debtors to engage in a costly and

potentially drawn-out priming fight at the outset of these chapter 11 cases. I likewise do not

believe the Debtors should engage in a similarly costly and contested dispute regarding the

non-consensual use of cash collateral with the Prepetition ABL Secured Parties at the outset of

these cases. I believe that any such outside financing could expose the Debtors to the execution

risk associated with a new lender transaction, including material timing and due diligence

constraints. Further, several parties representing potential sources of financing indicated to me

that the Debtors entanglement with the IBT (which circumstances are discussed in detail in the

First Day Declaration) foreclosed any interest they might have otherwise had in offering

debtor-in-possession financing to the Debtors.

       20.     Based upon the foregoing, it is my belief that the DIP Facility represents the best

and only postpetition financing option presently available to address the Debtors’ immediate

liquidity needs and to fund the Debtors’ chapter 11 cases. Further, I believe that the terms and

conditions of the DIP Documents are reasonable and appropriate under these circumstances. The

Roll-Up provision was a material requirement for the DIP Lenders to provide the DIP Facility,

and the DIP Lenders consistently indicated to the Debtors and their advisors that the DIP Facility

would not be extended without the Roll-Up provision contained therein.             Moreover, the

economics and Fees under the DIP Facility were heavily negotiated at arms’ length and

represent, in my opinion, the only available terms under the unique circumstances the Debtors


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face. The DIP Lenders’ fee arrangement under the proposed DIP Facility provides that the DIP

Lenders will earn the DIP Closing Fee (as defined in the Fee Letter (as defined in the DIP Credit

Agreement)) on the Closing Date with the Fixed Amount portion thereof to be payable on the

Closing Date and the Variable Amount portion thereof to be payable on the earliest to occur of

July 31, 2025, the date on which the Chapter 11 Cases are converted to a chapter 7 and the

effective date of any plan of reorganization. Per my calculations, the DIP Closing Fee (inclusive

of the Fixed Amount and Variable Amount) could reach as high as $32 million prior to maturity

of the DIP Facility, representing 22.6% of the New Money DIP Term Loans. However, the

Variable Amount (representing $25 million of the $32 million total potential Fee) will not be

payable until such time as the Prepetition UST Secured Parties are paid in full. The Admin Fee

(as defined in the Agency Fee Letter (as defined in the DIP Credit Agreement)), in the amount of

$35,000, will be due and payable to the DIP Agent annually, commencing on the Closing Date.

The Debtors engaged in extensive, hard-fought negotiations with the DIP Lenders regarding the

DIP Facility that achieved meaningful improvements including: (a) a significant reduction in the

cost of the DIP Facility relative to initial proposals; (b) flexibility to repay or refinance the DIP

Facility early without incurring a substantial portion of the Fees; and (c) extended maturity and

milestones to meet the Debtors’ objectives for a value-maximizing sale process, among other

enhancements. Critically, these negotiations yielded flexibility in the fee structure to refinance

the DIP Facility early and avoid a significant portion of the Fees if a more cost-effective

debtor-in-possession financing alternative becomes available. If such an alternative becomes

available and the Debtors are able to fully repay the DIP Facility through a refinancing or

otherwise by September 8, 2023, the Fees under the DIP Facility would be reduced to

approximately $7 million (5% of New Money DIP Term Loans).


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       21.     Ultimately, the DIP Lenders indicated that the Fees contemplated by the DIP

Facility were requirements for their commitment to provide the DIP Facility. Lacking any

available alternatives, agreeing to the Fees became necessary to secure the proposed DIP Facility

from the DIP Lenders. Accordingly, in my opinion, the DIP Facility (including the Fees) should

be approved as a sound and reasonable exercise of the Debtors’ business judgment to obtain

critical funding and preserve estate value. The DIP Facility is the product of good faith, arm’s

length negotiations between the Debtors and the DIP Lenders and is an essential component of

the Debtors’ wind-down and sale efforts and ability to maximize estate value for the benefit of

all stakeholders.

       22.     As mentioned above, Ducera has also been engaged by the Debtors to assist the

Debtors in conducting a comprehensive marketing process for all of their assets.               My

understanding is that the Debtors have had their extensive portfolio of real estate, equipment, and

other assets professionally appraised at an aggregate value that, if fully monetized at such

apparently appraised valuation, would exceed the aggregate amount of the Debtors’ prepetition

secured debt and the DIP Facility. Ducera has begun to, and will continue to, work diligently

with the Debtors’ management to achieve a value-maximizing sale of the Debtors’ assets with

the goal of achieving the highest possible recoveries to creditors. Even factoring in the costs and

Fees of the proposed DIP Facility, I believe that the continuation and ultimate completion of this

sale-and-marketing process will serve to maximize value of the estates. On the other hand, I am

advised that a chapter 7 liquidation would involve shutting down operations entirely, including

losing the entirety of the Debtors’ management team and potentially the ability to maintain the

Debtors’ assets in advance of their sales (with such maintenance costs contemplated by the

Agreed Budget). Several individuals on the Debtors’ management team possess key expertise in


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the Debtors’ sophisticated and industry-specific assets as well as have critical relationships with

the likely and prospective purchasers of these assets (i.e., the Debtors’ industry competitors).

Furthermore, the Debtors have an extensive tangible asset base, including hundreds of owned

and leased properties and tens of thousands of units of rolling stock across the United States and

Canada.      The company-specific knowledge and expertise of the Debtors’ real estate, asset

management, and other personnel is critical to supporting the informational and logistical

requirements of a value-maximizing sale process in light of the breadth and complexity of the

Debtors’ assets. Accordingly, I believe that conducting the sale process through these chapter 11

cases, harnessing the New Money DIP Term Loans provided by the DIP Facility along with the

continued efforts of the Debtors’ advisors in consultation with these individuals from

management most familiar with the Debtors’ assets, as opposed to liquidating the Debtors’ assets

through a potentially disorderly chapter 7 process, will ultimately yield incremental value to the

estates above the costs and fees of the DIP Facility.

       23.      The proposed DIP Facility will provide the Debtors with immediate access to

liquidity that will fund these cases and the Debtors’ value-maximizing objectives. No financing

alternative to the proposed DIP Facility is readily available following a thorough canvassing of

the debtor-in-possession financing market. The DIP Facility, in my opinion, contains the best

possible terms available under the circumstances following hard-fought and around-the-clock

negotiations with the DIP Lenders conducted in good faith. Accordingly, I believe that the DIP

Facility should be approved on the terms and conditions described in the DIP Motion and as set

forth in the DIP Documents.

                                            Conclusion

       24.      I believe that the Debtors lack any viable or available postpetition financing

alternatives to the proposed DIP Facility.      Based upon my understanding of the Debtors’
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projections and liquidity position (as described in the Whittman Declaration and set forth in the

Initial DIP Budget), the Debtors urgently require access to the New Money Term Loans under

the DIP Facility (and to Available ABL Cash Collateral) to effectively run their chapter 11

process, including to conduct an orderly wind-down of their operations and a robust,

competitive, and value-maximizing sale process with the goal of maximizing the value of their

assets for the benefit of all stakeholders. I believe that the DIP Facility reflects the best possible

(and only) financing currently available to the Debtors and that the terms thereof, taken as a

whole, are reasonable and appropriate under the facts and circumstances of these chapter 11

cases.

                            [Remainder of page intentionally left blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

Dated: August 7, 2023                      /s/ Cody Leung Kaldenberg
                                           Cody Leung Kaldenberg
                                           Partner
                                           Ducera Partners LLC
